Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Pagei of 65

 
   
    
  

Fill in this information to identify your case:

United States Bankruptcy Court for the:

 

District of
Case number (if known): Chapter you are filing under:
Chapter 7
Chapter 11

QO) Chapter 12

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 42/17

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
foint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

C) Check if this is an
amended filing

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 4: | Identify Yourself

1. Your full name

Write the name that is on your iy i aN 4
government-issued picture 4 ne L\

About Debtor 1: , About Debtor 2 (Spouse Only in a Joint Case):

 

 

 

identification (for example, First name First name
your driver's license or ha Lh\ e

passport). iddie name Middle name
Bring your picture fen TANS, “¢ .

identification to your meeting = Last name re Last name
with the trustee. WW

Suffix (Sr., Jr., Il, ill) \\ Suffix (Sr., dr., i, Il)

 

2. All other names you \ Mn, A Nex\

have used in the last 8 First name First name

years LAGE

 

 

 

 

 

Include your married or iddie name Middle name
maiden names. AC a CS
Lastfiame Last name
First name First name
Middle name Middle name
Last name Last name

 

ar j a ‘,
3. Only the last 4 digits of WK - XK \ Q SB Cy Ox XK -

your Social Security a

 

number or federal OR OR

Individual Taxpayer

Identification number 9x - xe 9x - x
(ITIN)

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page2 of 65

Debtor 4 Lol. Aner) War me Wacky ~

First Name

Middie Namie

Last Name

Case number (if known),

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

About Debtor 1:

x4 | have not used any business names or EINs.

About Debtor 2 (Spouse Only in a Joint Case):

UO) | have not used any business names or EINs.

 

Business name

Business name

 

Business name

EIN

EIN”

Business name

EN

EIN”

 

5. Where you live

\CAR Caran Be.

if Debtor 2 lives at a different address:

 

 

 

 

 

 

Number Street Number Street

Joc Cralean On ¥OI33

City State ZIP Code” City State ZIP Code
Maes

County County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

Of over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

C2 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

C) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(C1 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 
wm ne Mone acti

Middle Nerf Last Name

ra Tell the Court About Your Bankruptcy Case

7

Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page3 of 65

Case number (i known)

The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file ty
under Wy Chapter 7
CI Chapter 11
C} Chapter 12
U) Chapter 13
How you will pay the fee (1 | will pay the entire fee when | file my petition. Please check with the clerk's office in your

local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check

with a pre-printed address.

CL) I need to pay the fee in installments. if you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

WY | request that my fee be waived (You may request this option only if you are filing for Chapter 7.

By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

 

 

9. Have you filed for b No
bankruptcy within the
last 8 years? L) Yes. district When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
to. Are any bankruptcy _ 0 No
cases pending or being
filed by a spouse who is QO) Yes. Debtor Relationship to you
not filing this case with District When Case number, if known
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
MM/DD/YYYY
11. Do you rent your CUNo. Go to line 12.
residence? jr Yes. Has your landlord obtained an eviction judgment against you?

2 No. Go to line 12.
Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it as

part of this bankruptcy petition.

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy

page 3

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Paged4 of 65

Debtor 1 CV) Ware. Ua ravwz Case number (if known)

First Name iddle Nam Tast'Name

res Report About Any Businesses You Own as a Sole Proprietor

 

12, Are you a sole proprietor Mr. Go to Part 4.
of any full- or part-time
business? CI Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or
LLC. Number Street

 

Name of business, if any

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box to describe your business:

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
CI Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
QO) Stockbroker (as defined in 11 U.S.C. § 101(53A))

QO Commodity Broker (as defined in 11 U.S.C. § 101(6))

C) None of the above

 

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor? ‘
is No. | am not filing under Chapter 11.
For a definition of smal/
business debtor, see L) No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
14 U.S.C. § 101(51D). the Bankruptcy Code.

L) Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

ea Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

property that poses or is

14. Do you own or have any 4 No
alleged to pose a threat

Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Cade

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 4
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Paged of 65

Debtor 1

   

First Name

Middie Name

  
  

az

 
 
  

es
Last Name

Case number (if known)

Ea Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligibie to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

i

Q)

O

)

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

| certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after ! made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

lam not required to receive a briefing about
credit counseling because of:

O) Incapacity. | have a menial illness or a mental
deficiency that makes me
incapable of realizing or making
tational decisions about finances.

C) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

C) Active duty. | am currently on active military

duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

C} | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

LI | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) 1am not required to receive a briefing about
credit counseling because of:

O Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

QO Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

C) Active duty. | am currently on active military

duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Pageé of 65

Debtor 1 Whine Unae. Uorwaz

Middte Nami

First Name

Case number (i known)
Last Name

Sa Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

L] No. Go to line 16b.
(3 Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

is No. Go to line 16c.
Yes. Go to line 17.

16c, State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after ‘a

any exempt property is
excluded and

UI No. Iam not filing under Chapter 7. Go to line 18.

Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

 

No

administrative expenses

are paid that funds will be C1 Yes

available for distribution

to unsecured creditors?
18. How many creditors do Cl 1-49 CL) 1,000-5,000 C) 25,001-50,000

you estimate that you rm) 50-99 L) 5,001-10,000 L) 50,001-100,000

owe? CJ 100-199 Q) 10,001-25,000 LJ More than 100,000

LJ 200-999

19. How much do you i $0-$50,000 CJ $1,000,001-$10 million CI $500,000,001-$1 billion

estimate your assets to
be worth?

LI $50,001-$100,000
C2 $100,001-$500,000
C) $500,001-$1 million

C) $10,000,001-$50 million
U2 $50,000,001-$100 million
CJ $100,000,001-$500 million

LJ $1,000,000,001-$10 billion
L $10,000,000,001-$50 billion
C) More than $50 billion

 

 

20. How much do you
estimate your liabilities

(2 $500,000,001-$1 billion
C1 $1,000,000,001-$10 billion

Cd $1,000,001-$10 million
C2 $10,000,001-$50 million

LQ $0-$50,000
$50,001-$100,000

 

to be? LY $100,001-$500,000 LD $50,000,001-$100 million LJ $10,000,000,001-$50 billion
CJ $500,001-$1 million CJ $100,000,001-$500 million CY More than $50 billion
enka Sign Below
| have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

Official Form 104

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C, §§ 152, 1341, 1519, and 3571.

 
 
  

 

 

 

  
  

* a= *
Sigriature of Debtor 1 Signature of Debtor 2
Executed on 1 Executed on

t) DD WYYYY MM 7 DD /YYYY

Voluntary Petition for Individuals Filing for Bankruptcy page 6
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page7 of 65

 

 

Debtor 1 | ‘al x) A . NAA pA LA AVL Case number (i known)

Middie Name

. I, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
For your attorney, if you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not

 

 

 

 

 

 

 

 

need fo file this page. x
Date
Signature of Attorney for Debtor MM / DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Pages of 65

Debtor 1

Firs!Name

8

Middle Name

For you if you are filing this

bankruptcy without an
attorney

If you are represented by
an attorney, you do not

need to file this page.

Official Form 101

ws
a
AN

WS

Man e Wark ie Case number (rsnown)

Last Name

 

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

C) No

W Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

of Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

Yes. Name of Person .
Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

 

 

 

 

 

  
 
 
 

£&
LIN S-
Signature of Debtor 1 Signature of Debtor 2
* ; B y zy
Date CS C} G . Date
NM DD 1YYYY MM/ DD /YYYY

Nee

Contact phone WO ai BAG U Contact phone
Celi phone —— oS 2% S| Cell phone

 
 

Email address

| » HEN col

Email address 4 df

Voluntary Petition for Individuals Filing for Bankruptcy page 8
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page9 of 65

 

 

 

 

Certificate Number: 15725-CO-CC-033 109143

FANT AMT A A

15725-CO-CC-033 109143

 

CERTIFICATE OF COUNSELING

I CERTIFY that on July 15, 2019, at 2:26 o'clock PM EDT, Whitney Martinez
received from 001 Debtorce, Inc., an agency approved pursuant to 11 U.S.C. 111
to provide credit counseling in the District of Colorado, an individual [or group]
briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: July 15, 2019 By: /s/Margue Karmanov
Name: Maregue Karmanov

Title: Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

 

 

 

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page10 of 65

Fill in this information to identify your case:

Debtor 1 Ad Lf AS
First Name Middle Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: District of

Case number

(if known) L) Check if this is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 049

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

a Give Details About Your Marital Status and Where You Lived Before

 

41, What is your current marital status?

CJ Married
4 Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

No
u Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor1 Debtor 2: Dates Debtor 2
lived there lived there
QO Same as Debtor 1 QO Same as Debtor 1

AAG ia mya AvVe From Wig Number Seat From
Unit 9 re 10h, °

Vener Co 090

City State ZIP Code City State ZIP Code

 

 

 

() Same as Debtor 1 QO Same as Debtor 1
Lorn ce Quis Aye From a tLe From
Number Street ae Number Street
To \j \A To

 

 

 

State ZIPCode City State ZIP Code

 

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

C] No
Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

| Part 2: Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Pageii of 65

cor OA Wor? SAGE creme

First Name Middle Name Last Name

\

 

4, Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from ail jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

QI No
Yes. Fill in the details.

     

: Debtor 1 : ‘Debtor 2 - -
Sources of income Gross income Sources of income Gross income
Check alf that apply. (before deductions and. Check all that apply. (before deductions and
exclusions) exclusions)
. a issi . - wot
From January 1 of current year until a ages, erdinanaiae $ \¢ ; ATS o1 O pages, ‘on
the date you filed for bankruptcy: Onuses, UPS Onuses, TPS
C) Operating a business QO Operating a business
(a wo . Par
For last calendar year: m Wages, commissions, Uy aa L) Wages, commissions,
2018 bonuses, tips $ & bonuses, tips $
(January 1 to December 31, —— QQ) Operating a business Q Operating a business
For the calendar year before that: Wages, commissions, . Q Wages, commissions,
3017 bonuses, tips $ é 3 bonuses, tips
7 i &
(January 1 to December 1, QO Operating a business CQ) Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. lf you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

No
CJ Yes. Fill in the details.

 

Debtor?

 

Sources of income Gross income from Sources of income Gross income from
Describe below. each source Describe below. each source
(before deductions and (before deductions and
exclusions) exclusions)

From January 1 of current year until
the date you filed for bankruptcy:

 

For last calendar year:

(January 1 to December 31, )
YYYY

 

 

 

For the calendar year before that:

(January 1 to December 31, )
YYYY

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Pagei2 of 65

%

 

 

& %
Debtor 1 \ Case number (if known)
Fit Name Middte Name§ Last Name

iar List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
CJ No. Neither Debtor 4 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

‘sy No. Go to line 7.

L) Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

C] Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Y No. Go to line 7.

C) Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

Dates of - Total amount paid Amount you still owe Was this payment for...
payment
7 $ $ Q Mortgage
Creditor's Name
O) car
Number Street CI) credit card

O Loan repayment

 

QO Suppliers or vendors

 

City State ZIP Code ) Other

$ $ OQ Mortgage
C) car
C credit card

 

 

Creditors Name

 

Number Street
C) Loan repayment

 

L) Suppliers or vendors

 

 

 

City State ZIP Code C) other
$ $ Q Mortgage
Creditors Name
OC) car

Q Credit card

 

Number Street

() Loan repayment

 

Q Suppliers or vendors
2 other

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

 

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page13 of 65

Debtor 1

 

Case number (ifknown).

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;

corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,

such as child support and alimony.

No
Yr List all payments to an insider.

Dates of
payment

 

Insiders Name

 

Number Street

 

 

City

State ZIP Code

 

Insider's Name

 

Number Street

 

 

City

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

State ZIP Code

Include payments on debts guaranteed or cosigned by an insider.

G no

QO) Yes. List all payments that benefited an insider.

Dates of
payment

 

insiders Name

 

Number Street

 

 

City

State ZIP Code

 

Insider's Name

 

Number Street

 

 

City

Official Form 107

State ZIP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Total amount

paid

Total amount
paid

Amount you still

owe

Amount you still
owe

Reason for this payment

 

 

Reason for this payment

Include creditor's name

 

 

 

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page14 of 65

  

Debtor 1 \ j Ni ' ‘\ pW ‘ A\k é \ NG OVW. Case number (known)

iddle Name Last Name

Ez Identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

No

LQ Yes. Fill in the details.

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title Court Name C) Pending
CL) On appeal
Number Street U) Concluded
Case number
City State ZIP Code
Case title Court Name C) Pending
OQ) on appeal
Number Street CY concluded
Case number
City State ZIP Code

 

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

i No. Go to line 11.
Yes. Fill in the information below.

Describe the propert Date Value of the property
y

 

Creditor’s Name

 

Number Street Explain what happened

CQ) Property was repossessed.

 

C] Property was foreclosed.
C] Property was garnished.

 

City State ZIP Code Q Property was attached, seized, or levied.

Describe the property Date Value of the property

 

Creditors Name

 

Number Street
Explain what happened

Property was repossessed.

 

Property was foreclosed.
Property was garnished.
Property was attached, seized, or levied.

 

City State ZIP Code

OOOO

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page1i5 of 65

   
     
 

Puc l'

Debtor 4 Pld!
Middle Name

 
   

Case number (if known).

First Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?
No
C) Yes. Fill in the details.

 

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
CreditorsName i
|
$.
Number Street :
|
!
City State ZIP Code Last 4 digits of account number: XXXX—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

No
C) Yes

Ea List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No
Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
~ {
:
|
$
Person to Whom You Gave the Gift
!
: $
Number Street
City State ZIP Code
Person's relationship to you :
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person ee _ the gifts
- $
Person to Whom You Gave the Gift
$

 

 

 

Number Street

 

City State ZIP Code

 

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page16 of 65

Debtor 1 vm Ww Var \ Q Dadi eC Case number (if known)

First Naine Middle Name Last Name

14, Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

i No

C Yes. Fill in the details for each gift or contribution.

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
a ¥
|
§
Charity’s Name | |
: /
$

 

 

 

Number Street

 

 

5
|
b

City State ZIP Code

Eo List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

y No
Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred . a, oo loss lost
Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

C) No
Bl Yes. Fill in the details.
Description and value of any property transferred Date paymentor Amount of payment

transfer was
made

   

Berson Who Was Paid

Number Street Xe. KAY Qed
Kourbelhog,

 

 

 

City State ZIP Code

    

Toune

Email or website address

 

 

 

Person Who Made the Payment. if if Not You

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page1i7 of 65

Debtor 1 Loa dw WA awry @ Uacwwoz Case number (if known),

First Name Middle Name & Last Name

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

 

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

OL No

C) Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Po $
Number Street :
$
City State ZIPCode _ / ee

 

18, Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

CY No
WH Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 
 
     

s orn = . ae Ke = a
Person Who Received Transfer

Woon €. use Rakussr Sige Sony Home

Number Str WUSO OOO Sek \ Cosinal Ole, ig
; at ZIP Code™ "SA, funds 4g enc
Person’s relationship to you ( LO \€ SENS NeaWe

Person Who Received Transfer

 

     

State

 

 

Number Street

 

 

City State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page18 of 65

Debtor 1 rh AQ Dane Wace NN ward Case number (if known)

ime Middle Nari je Last Name

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

No
L) Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

Qi No
W Yes. Fill in the details.

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer

Anose. ? ave or transferred

Ae me of BOX LAS J XXXX— “A \ Ww Ok checking rd ( pos ea

Number Street QO Savings

QO Money market

 

Sua Antena, CS 4 “VK “Tess SAVY OQ Brokerage

City State ZIP Code

C2 other

Name of Finbneial | institution xxxx- A L a rh Checking 5-AD "|
Wan ve) aN | Awe (2) savings

Number Street QO Money market

    

QO Brokerage

IAY CQ) other

 

 

City State. ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
ne cash, or other valuables?

No
C] Yes. Fill in the details.

 

 

Who else had access to it? Describe the contents Do you still
have it?
~OINo
Name of Financial Institution Name : i Q Yes

 

 

Number Street Number Street

 

 

City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page19 of 65

Debtor 1 Loni, Vane Daye: ~ Case number (if known),

First Name Middle Na: SA, Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
Q No
o Yes. Fill in the details.

Who else has or had access to it? Describe the contents Do you still
have it?

ONo
ieee orga Eran

 

 

VENA RMS Give
oclra Une NS 20933 |

CltyState ZIP Co9e\

 

 

State ZIP Code

Identify Property You Hold or Control for Someone Else

 

 

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or, hold in trust for someone.
4 No
Yes. Fillin the details.

Where is the property? Describe the property Value

 

Owner's Name $

 

Numb Street

 

Number Street

 

 

 

 

City State ZIP Code
City State ZIP Code . ce . |

| Part 10: | Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

 

 

8 Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

a Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

@ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

i No
Yes. Fill in the details.

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page20 of 65

Debio rn) Wage Bacau.

Name Middle Name \ Last Name

25. Have you notified any governmental unit of any release of hazardous material?

Yes. Fill in the details.

Governmental unit

 

 

 

 

| Name of site Governmental unit

/

| Number Street Number Street

i

| City State ZIP Code
|

| City State ZIP Code

Case number (if known)

Environmental law, if you know it

Date of notice

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

No

Ci Yes. Fill in the details.

 

 

Court or agency
Case title
Court Name
Number Street
Case number City State ZIP Code

tue Give Detalis About Your Business or Connections to Any Business

Status of the
case

Nature of the case

QO Pending
QO On appeal
: | Concluded

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
Ci Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

C2 A member of a limited liability company (LLC) or limited liability partnership (LLP)

Oa partner in a partnership
QO) An officer, director, or managing executive of a corporation

C2) An owner of at least 5% of the voting or equity securities of a corporation

¥ No. None of the above applies. Go to Part 12.

Yes. Check all that apply above and fill in the details below for each business.

Describe the nature of the business

 

Business Name

 

Number Street ee
Name of accountant or bookkeeper

 

 

City State ZIP Code a _
Describe the nature of the business

 

Business Name :

 

Number Street
Name of accountant or bookkeeper

 

 

City State ZIP Code

 

Official Form 107

 

Employer Identification number

_ Do not include Social Security number or ITIN.

| EIN: -

Dates business existed

From To

Employer Identification number

Do not include Social Security number or ITIN.

Dates business existed

| From To

Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page21 of 65

Debtor 1 Linn) one oan, Case number (if known)

First Name Middle Name

Employer Identification number
Do not include Social Security number or ITIN.

Describe the nature of the business

 

Business Name

 

 

| EIN;
ence sen cece 4
Number Street Name of accountant or bookkeeper Dates business existed

| From To

 

City State ZIP Code

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

No
y Yes. Fill in the details below.

Date issued

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

Signature of Debtor 2

Date

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

UC) No
C) Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

CL) No

L) Yes. Name of person . Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page22 of 65

Fill In this Information to Identlfy your case:
Debtor 4 \ OL Yone
Nama 4 Middie Nama

Debtor 2
(Spouse, if filing) First Name Middle Nama

 

United States Bankruptcy Court for the: District of

Case number () Check if this is an
{it known) amended filing

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

| Part 4: | Summarize Your Assets

 

Your assets
Value of what you own
| 1. Schedule A/B: Property (Official Form 106A/B) OO
1a. Copy line 55, Total real estate, from Schedule A/B oo... ccccccssccssnassscecsesesseece su suseeusasevsnseenensnessesusesantaanecsesasaenestsensasaeoesns § edt

1b. Copy line 62, Total personal property, from Schedule A/B cs. .ccecccscecessseecesseee sane eng casas ensssne seven sasesssescnananansnsaeaecsssesscanensea $ La \ *

1c. Copy line 63, Total of all property on Schedttle A/B oo... coccccccscccsccesssesusenseensussoasescnecasesecadon ones eauns as sentssesesssaneneesestaueeeuauesens $ uy | OFT
Ea Summarize Your Liabilities

 

 

 

 

Your liabilities
: Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D) 4 lp g oy
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D....... $

_ 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F.....ccccccccesecce tes csusencentsenes $ 4 5 A

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ...ecccsesccesssssssscsnccenens + 5 f

Your total liabilities $ AQ j oy ) |

 

 

 

 

a Summarize Your Income and Expenses

» 4. Schedule I: Your income (Official Form 1061)

Copy your combined monthly income from line 12 of Schedule |... ccccccssecessssces se tscsenece ve vevesseesoecenovarsneneveneseneecaanqananane $ Doso.4%4 :

_ 6. Schedule J: Your Expenses (Official Form 106J)

SO
Copy your monthly expenses from line 22c of SchEdUIE SI o.sccccscsccsscsccssssssssssssssnssesssevesesecsescenstenseesestsastinssisevas stssaaestarensstaee $ ay AQ AO

Official Form 106Sum Summary of Your Assets and Liabllities and Certain Statistical information page 1 of 2
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page23 of 65

Debtor 1 \ ow ear v Vou EL Case number fit known}
Fit Name Middle Nima

Last Name

Ea Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

CJ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

M Yes

_ 7. What kind of debt do you have?

CJ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

C] Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

9. Copy the fallowing special categories of claims from Part 4, line 6 of Schedule E/F:

From Part 4 on Schedule E/F, copy the following:

8a. Domestic support obligations (Copy line 6a.)
9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

9d. Student loans. (Copy line 6f.)

Ye. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +

 

 

 

 

Total claim

 

9g. Total. Add lines 9a through 9f.

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 2 of 2

 

 

 
 
 
  

Fill In this information to Identify your ease and this filing:

Debtor 1 Us ier un & Dow.

Debtor 2
(Spouse, if filing) First Name

  

 

Middle Nama Last Nama

United States Bankruptcy Court for the: District of

(State)
Case number

 

 

 

Official Form 106A/B
Schedule A/B: Property

 

     
 
 

C) Check if this is an
amended filing

 

12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset In the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct Information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

Ea Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

4 No. Go to Part 2.

Yes, Where is the property?
What Is the property? Check all that apply.
C] Single-family home

14. C Duplex or multi-unit buildin
Street address, if available, or other description P t 9

 

CO) Condominium or cooperative
C] Manufactured or mobile home
C) Land

CJ investment property

CJ timeshare

CQ) other

 

 

City State ZIP Code

 

Who has an interest in the property? Check one.
C) Debtor 1 only
(2 Debtor 2 only

CI Debtor 1 and Debtor 2 only
C) At least one of the debtors and another

 

County

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

C) check if this is community property
(see instructions)

Other Information you wish to add about this Item, such as local

property identification number:

 

If you own or have more than one, list here:
Whatis the property? Check all that apply.
Q Single-family home

1.2. — _— CY Duplex or mutti-unit building
Street address, if available, or other description

 

(CD Condominium or cooperative

C] Manufactured or mobile home

Q) Land

L} Investment property

C] Timeshare

QC) other

Who has an interest in the property? Check one.
CJ Debtor 1 only

C1 Debtor 2 only

(J Debtor 1 and Debtor 2 only
CD Atleast one of the debtors and another

 

 

City State ZIP Code

 

 

County

De not deduct secured claims or exemptians. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

Cl check if this is community property
(see Instructions)

Other information you wish to add about this item, such as local

property identification number:

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page25 of 65

1.3.

 

Street address, if available, or other description

 

 

 

What is the property? Check all that apply.
QO Single-family home

QO Duplex or multi-unit building

C2) condominium or cooperative

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

 

 

O) Manufactured or mobile home entire property? portion you own?
C) Land $ $
C] Investment property
City Siale ZIP Code © Timeshare Describe the nature of your ownership
Interest (such as fee simple, tenancy by
OQ) other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
C) Debtor 1 only
County C} pebtor 2 only
C) Debtor 1 and Debtor 2 only C) Check if this is community property
(J At least one of the debtors and another (see instructions)
Other Information you wish to add about this Item, such as local
property identification number:
2, Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $
you have attached for Part 1. Write that number here. ..........ccccccesccssccceeccescesececessscevcesuseecaeseeececeaececsccnavensenessce DD

izes Describe Your Vehicles

 

 

 

Do you own, lease, or have legal or equitable Interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

Ono

Y Yes

3.1, Make: Voles oan
Model: ast
Year: <. you

Approximate mileage: _| oh CE io

Other information:

t

 

 

KidQ)

 

 

If you own or have more than one, describe here:

3.2, Make:
Model:

Year.

Approximate mileage: _ WD CF y

Other information:

 

 

CO-Sener or
Sh -SNQIIE

 

 

 

Who has an interest In the property? Check one.

a Debtor 1 only
Debtor 2 only
(J) Debtor 1 and Debtor 2 only

(C) At teast one of the debtors and another

C] Check if this is community property (see
instructions)

Who has an Interest In the property? Check one.

C} pebtor 1 only
C} Debtor 2 only
C] Debtor 4 and Debtor 2 only
At least one of the debtors and another

C) Check If this ts community property (see
instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Croditors Who Have Claims Secured by Property.

Current value of the
partion you own?

Current value of the
entire property?

sO NBA SO 5 Ow SO

Da not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

593, WHA 5 23 pep?

 
Case:19-16333-EEB Doc#:2

3.3. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Filed:07/24/19 Entered:07/25/19 09:10:09 Page26 of 65

Who has an interest in the property? Check one.

CQ Debtor 4 only

O) Debtor 2 only

C) Debtor 1 and Debtor 2 only

C2 Atleast one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an Interest in the property? Check one.

CJ Debtor 1 only

CI pebtor 2 only

CI Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

() check if this is community property (see
instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

De not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessorles

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

No
Yes

4.1. Make:
Model:
Year:
Other information:

 

 

 

 

If you own or have more than one, list here:

4.2, Make:
Model:

Year:

 

 

 

 

Who has an Interest in the property? Check one.
C) Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C) check if this is community property (see
instructions)

Who has an Interest in the property? Check one.
C] Debtor 4 only

Q) Debtor 2 only
C) Debtor 1 and Debtor 2 only

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Properly.

Current value of the Current value of the

 

 

vo entire proper ortion you own?
Other information: C) At least one of the debtors and another property? P y
C) Check if this is community property (see $ $
instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages ‘
you have attached for Part 2. Write that number here o........ccccccccsscccssesessssesssvnsvarwareseassassenssansvaseassvasavavensssnevareucensesanenasversensnes >

 

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page27 of 65

 

CS Describe Your Personal and Household Items
Current value of the

Do you own or have any legal or equitable interest in any of the following Items? portion you own?

Do not deduct secured claims
or exemptions.

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

C) No :

¥ Yes. Descibernn|| 4 eS 1 Jornnrec home Lol Jom\y.

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
| No

QO] Yes. Describe...

i

 

 

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
. A stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
No

Q Yes. Describe. ........,

|
:

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
¥ and kayaks; carpentry tools; musical instruments
No

Oe peserze, | — snunnnunn conten mnnntennnnnnnrins oss |

 

10. Firearms
pes Pistols, rifles, shotguns, ammunition, and related equipment
No

C) Yes. Desctb0. on, - 7 | Go

11.Clothes
a¢amples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

Pema SONA Yor Jami, —_[s3O

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding tings, heirloom jewelry, watches, gems,
gold, silver

Yes. Describe.......... $

 

  

13.Non-farm animals
Examples: Dogs, cats, birds, horses

vi No . “of
Cl Yes. Describe........./ $

14. Any other personal and household Items you did not already list, including any health alds you did not list

Yes. Give specific $
information.........00.

 

 

 

15. Add the doflar value of all of your entries from Part 3, including any entries for pages you have attached $ : xr 5 ‘ OG
for Part 3. Write that mumber here o.oo cscsssssssssssssassssnscssnssasussessscennacenssssssnsusunanscueeessncanevananevsisseysmcassecearecceesnesenenaneceesenea >

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09

Describe Your Financial Assets

Page28 of 65

 

Do you own or have any legal or equitable interest In any of the following?

16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
No
VOS oi ccececseccn tease ceesonseascessesnnesabesacsueesasdandasstareusstansaucasenesonseaesenicsneseeasenvansanesencaverasesssesneaeneaneasnennsesssanennes CASH. cocccccccceccccsueees

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

yy YOS coca Institution name:

17.1. Checking account: TheAanoch ann

17.2. Checking account:

 

17.3. Savings account:

 

17,4, Savings account:

 

17.5, Certificates of deposit:

 

17.6. Other financial account:

 

17.7. Other financial account:

 

17.8, Other financial account:

 

17,9. Other financial account:

 

18.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

No
YOS wees institution or issuer name:

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

32/33

PF fF F# 68 FF Ff Ff§ Ff GH

 

 

 

19. Non-publicly traded stock and Interests in Incorporated and unincorporated businesses, Including an interest in
an LLC, partnership, and joint venture

ih No Name of entity: % of ownership:

Yes. Give specific %
information about
THEM, ooo %

%

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

y No
Yes. Give specific

information about

Issuer name:

 

 

 

 

Page29 of 65

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

THOM. wecccscsseesssssene $
$
$.

21, Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
¥ No

Yes. List each

account separately.. Type of account: Institution name:

401(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

0 No

he Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
ws No
DD Ves oie Issuer name and description:
§
§,

 

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page30 of 65

24. Interests In an education IRA, In an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and §29(b)(1).

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit
No

Q) Yes. Give specific
information about them. .. | $

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other Intellectual property
Examples: intemet domain names, websites, proceeds from royalties and licensing agreements

Y No

Q) Yes. Give specific | — . |
information about them. “| $

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

i No

Cl] Yes. Give specific
information about them. ..

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

Wi no

C) Yes. Give specific information

Federal:
about them, Including whether eaera
you already filed the returns i State:
and the tax years... |

: Local:

29. Family support
Examples: Past due or lump sum allmony, spousal support, child support, maintenance, divorce settlement, property settlement

jo No

(J Yes. Give specific information. ............
i Alimony.

i
i
|
Maintenance:
|

Support:

Divorce settlement:

AA Ff Tf

Property settlement:
30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
% Social Security benefits; unpaid loans you made to someone else
No

() Yes. Give specific information.......

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page31 of 65

31. Interests in Insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

No
¥ Yes. Name the insurance company — Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32, Any Interest In property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

C) Yes. Give specific information. ..........

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Yi No

ne
C] Yes. Describe each claim, cece | |

34. Other contingent and unliquidated clalms of every nature, Including counterclaims of the debtor and rights
to set off claims

Y No

C] Yes. Describe each clalm. ocean |

35. Any financial assets you did not already list

1 No rm

C) Yes. Give specific information. .......... $

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached abn
for Part 4. Write that number Mere oo... cc csssessssssscscssescevennsaeascevuesecesssessinussesssstsuensessacesasuunvessicespseansscarstvamesstsiseseuenscases DP $ 2). A

 

 

 

‘elem Describe Any Business-Related Property You Qwn or Have an Interest In. List any real estate in Part 1.

 

37.BDo you own or have any legal or equitable interest in any business-related property?
ire Go to Part 6.
Yes. Go to line 38.

Current value of the
portion you own?

Do nat deduct secured claims

or exemptions.
38.Accounts receivable or commissions you already earned
CI No
C) Yes. Describe...
$
t

39. Office equipment, furnishings, and supplies
Exampies: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

C] No
Cl Yes. Describe

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09

40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

U No

Page32 of 65

 

CI Yes. Describe......,

41. Inventory
QC) No
O) Yes. Describe ....../

42. Interests In partnerships or joint ventures

C2 No
C] Yes. Describe........

%
%
%

43. Customer lists, mailing lists, or other compilations
OQ) Ne
C] Yes. Do your lists Include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

C] No

Name of entity: % of awnership:

 

CJ Yes. Describe......... -

44. Any business-related property you did not already list
CI No

Cl) Yes. Give specific
information .........

 

 

 

 

 

 

45, Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached

for Part 5. Write that mummber here oo... ce csc ceeesccsscsccscssssccssssssssssasesavumeavecnsesesuvessessusausessarenssnesannuensasnvasavanussuassnansesene >

tf Ff F# fF

 

 

 

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.

If you own or have an interest in farmland, list it in Part 1.

 

46.D9 you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
Yes. Go to line 47.

47. Farm animals
Examples. Livestock, poultry, farm-ralsed fish

| No

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page33 of 65

48, Crops—elther growing or harvested

CC] No - . - - . . i

C1 Yes. Give specific | /
information. ......0.4) $

49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
LJ No
CD VES oc cccecsssssueseenel

i
i
: $

50. Farm and fishing supplies, chemicals, and feed

C] No
CD VES oo ovccecccnsneeen

51. Any farm- and commercial fishing-related property you did not already list

) Ne

UI Yes. Give specific
information. ............ $

 

 

 

 

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number here 0... ccc ccssccsssssssnennensencscosnessnunuesenecesseuspitsasesinscsueesetesessunusniaeievsinenuntevsaupenesnaeee >

 

 

 

Ca Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
No

C) Yes. Give specific |
information. ............ '

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ........ccccecsssssussesarsessersenessunsersenssssseee sO OCS _

 

 

List the Totals of Each Part of this Form

 

55.Part 1: Total real estate, Ure 2 oo ccs sesssessnssensessvavessesassanseasssesenssesuensesenesseansucsesneesstasssssesusnseuacateagyenenustenesiesanesnsevanseasenucae > $ GY 5
56. Part 2: Total vehicles, line 5 $ A 0 i bs » \

§7.Part 3: Total personal and household items, line 15 $ ’ IO : COS

58. Part 4: Total financial assets, line 36 $ (o)

59.Part 5: Total business-related property, line 45 $ ¢ D

60.Part 6: Total farm- and fishing-related property, line 52 $ (ZL

61.Part 7: Total other property not listed, line 54 Sg DZ

62. Total personal property. Add lines 56 through 61... | $ =| \ \C »\ ony personal property total > +4 U \ \O \

 

. & ~ |
63. Total of all property on Schedule A/B. Add line 55 + line G2. oo... ec ccc ceca ceca ae eevee seen cna cetesae ce neue uecaz case necaeee ceneenienen $ o

 

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page34 of 65

Fill in this information to identify your case:

Debtor 1 Whitney Marle Martinez
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

Case number L) Check if this is an
{If known) amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt _
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

| Part 4: Identify the Property You Claim as Exempt

1, Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
CD You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

 

 

 

 

 

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief
description: QO $
. AS 100% of fair market value, up to
Line from ,
Schedule A/B: 3 : \ any applicable statutory limit
Brief
description: = Cis
: ‘ 100% of fair market value, up to
Line from 3 > 2, U
Schedule A/B: any applicable statutory limit
Brief tenancy “ ,
description: Le A $ 300 Os
Line from . 100% of fair market value, up to
Schedule A/B: 1 \ any applicable statutory limit

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

No
CO) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

(2 No
QO) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of __

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09

Debtor 1

ea Additional Page

 

Case number (if known)

Page35 of 65

 

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:. —-——

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:_ ————

Brief
description:

Line from
Schedule A/B: ~~

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:_ ————

Brief
description:

Line from
Schedule A/B: ~~

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:_ ————

Brief
description:

Line from
Schedule A/B:

Official Form 106C

Current value of the
portion you own

Copy the vaiue from

Amount of the exemption you claim

Check only one box for each exemption

 

Cl 100% of fair market value, up to
any applicable statutory limit

 

C) 100% of fair market value, up to
any applicable statutory limit

 

C) 100% of fair market value, up to
any applicable statutory limit

 

C) 100% of fair market value, up to

 

LJ 100% of fair market value, up to
any applicable statutory limit

 

LJ 100% of fair market value, up to
any applicable statutory limit

 

L) 100% of fair market value, up to
any applicable statutory limit

 

LL) 100% of fair market value, up to
any applicable statutory limit

 

LL) 100% of fair market value, up to
any applicable statutory limit

 

C) 100% of fair market value, up to
any applicable statutory limit

 

CI 100% of fair market value, up to
any applicable statutory limit

Schedule A/B

$ Os
$ Os
$ Lis
$ Os

any applicable statutory limit

$ Os
$ Cis
$ Ls
$ Qs
$ Os
$ Os
$ Os
$ Os

 

() 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Specific laws that allow exemption

 

 

 

 

pagea)_of
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page36 of 65

Fill In this Information to Identify your case:

Debtor 1 Laney MAaned AA AWO7.

Middie Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Nama Last Name

 

United States Bankruptcy Court for the: District of
(State)

 

Case number

{if known) C) Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/45

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. if more space is needed, copy the Additional Page, fill it out, number the entries, and attach It to this form. On the top of any
additional pages, write your name and case number (if known).

 

 

1, Do any creditors have claims secured by your property?
Q) No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Yes. Fill in all of the information below.

} Part 4: | List All Secured Claims
Column A Column-B Column:C

2, List all secured clalms. If a creditor has more than one secured claim, list the creditor separately Amount of claim Value of collateral. Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the that supports this: © portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim if any

[ 2.1] Want (Oreck Une Describe the property that secures the claim: $ \3 . @ 05 é $s’
WSUS Ld. Touhy Ave S01 NOW IRO BN Pessica

umber

 

 

 

 

As of the date you file, the claim is: Check all that apply.

 

; cape : . QO Contingent

OW CORO Lt WOLe Lev oO Unliquidated

Clty “s State ZIP Code 1 bisputed
Who owes the debt? Check one. Nature of lien. Check alf that apply.
¥ Debtor 1 only i An agreement you made (such as mortgage or secured

Debtor 2 only car loan)

() pdebtor 1 and Debter 2 only QO Statutory lien (such as tax lien, mechanic's lien)
(CI Atleast one of the debtors and another Q) Judgment lien from a lawsuit

C1 other (including a right to offset)
Cl Check if this claim relates to a

community debt

Date debt was incurred. \Gyv) SOY Last 4 digits of account number_|_ y WS f

22 A\\on) Oreck { (wen Describe the property that secures the claim: 33 3 AA $ | sp _
S8S Lo “Toulny Ave 19 Dake Cory SOK }

Number Street

 

 

 

 

 

 

As of the date you file, the claim is: Check all that apply.
Q Contingent

Cyicoog TL woul C] Untiquidated

 

Clty State ZIP Code C1 pisputed
Who owes the debt? Check one, Nature of lien. Check ail (hat apply.
Debtor 4 only O’an agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
C) debtor 4 and Debtor 2 only C] Statutory lien (such as tax lien, mechanic's lien)
C) At teast one of the debtors and another QV Judgment tien trom a lawsuit

QC) other (including a right to offset)
C) Check if this claim relates to a

community debt

% Aw Aa 2
Date debt was Incurred JAY. SVN Last4 digits of account number | A (oS we psa pe
Add the dollar value of your entries in Column A on this page. Write that number here: f I O71 |

 

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page37 of 65

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Creditors Name

 

 

 

Number Street

 

 

 

 

 

City Slate ZIP Code

Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Debtor 4 and Debtor 2 only

At least one of the debtors and another

C ocoooa

Check if this claim relates to a
community debt

 

| Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here: 5

If this is the last page of your form, add the dollar value totals from all pages.

Write that number here:

As of the date you file, the claim is: Check all that apply.
Q Contingent

CI Untiquidated

CI disputed

Nature of lien. Check aif that apply.

CI An agreement you made (such as mortgage or secured
car foan)

Statutory lien (such as tax lien, mechanic's lien)
Judgment lien from a lawsuit

Other (including a right to offset)

ooo

Last 4 digits ofaccount number

 

 

 

Additional Page haoane lai values llateral inne nad
mount of claim alue.of collateral Insecure
After listing any entries on this page, number them beginning with 2.3, followed Do not deduct the that supports this . portion
by 2.4, and so forth. value of collateral. claim if any :
1 Describe the property that secures the claim: $ $
Creditor’s Name
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code CI Unliquidated
Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CI Debtor 1 only O) An agreement you made (such as mortgage or secured
Q Debtor 2 only car loan)
C1 Debtor 4 and Debtor 2 only C] Statutory lien (such as tax lien, mechanic's lien)
CQ Atleast one of the debtors and another C) Judgment lien from a lawsuit
C1 other (including a right to offset)
C) Check if this claim relates to a
community debt
Date debt was incurred ___ Last4 digits ofaccount number
L_| Describe the property that secures the claim: § $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
CQ) Contingent
C) Untiquidated
City State ZIP Code ol Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
1 Debtor 1 only QO) An agreement you made (such as mortgage or secured
O21 Debtor 2 only car loan)
C} Debtor 1 and Debtor 2 only C) Statutory lien (such as tax lien, mechanic's lien)
C) At teast one of the debtors and another CY Judgment lien from a lawsuit
incl .
C] Check if this claim relates toa U1 Other (including a right to offset)
community debt
Date debt was incurred __ Last4 digits ofaccount number
L_| Describe the property that secures the claim: $ $

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page38 of 65

Rr List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 4, list the additional creditors here. If you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _—__ a
Number Street
City State ZIP Code
[| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ee
Number Street
City State ZIP Code
[| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _
Number Street
City State ZIP Code
[| On which line in Part 1 did you enter the creditor?
Name Last4 digits ofaccountnumber
Number Street
City ‘State ZiPCode
[ | On which line in Part 1 did you enter the creditor?
Name Last4 digits ofaccountnumber
Number Street
City State ZIP Code
[] On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ Le
Number Street
Gity State ZIP Code

 

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page39 of 65

USE me LUM elle tlh

Debtor 1 ’ chive Wane . Doria bz

 

 

 

 

 

‘First Name q Middle Nama Last Name
Debtor 2
(Spouse, if filing) First Name Middle Namo Last Nama
United States Bankruptcy Court for the: District of
c be (State) Q) Check if this is an
thrown) amended filing

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
AV/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed In Schedule D: Creditors Who Have Claims Secured by Property. if more space Is
needed, copy the Part you need, fill it out, number the entries In the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

ian List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?
CI No. Go to Part 2.

Yes.

2. R all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form In the instruction booklet.) :
Total claim Priority Nonpriority

_ WAVS amount amount i
LC Stich, [ore echt Last 4 digits of account number MOD eB § S13 $ $

 

 

 

 

 

 

Priority Creditor’ . :
QOacn, Eoece ®\ When was the debt incurred? NG QO
ASS rower vc ° . S

/ ~ i uy ee ~ As of the date you file, the claim is: Check all that apply.
CHEWEK \ \ © WIO 1 contingent

State ZIP Code
Q Unliquidated
Who incurred the debt? Check one. QO Disputed
i Debtor 1 only
Debtor 2 only Type of PRIORITY unsecured claim:
Q) Debtor 1 and Debtor 2 only

O Domestic support obligations
C1 At feast one of the debtors and another

O) Taxes and certain other debts you owe the government

Cl Check if this claim is for a community debt C) Claims for death or personal injury while you were

 

Is the claim subject to offset? intoxicated
Cl] Ne W Other. Specify
Cl) ves

 

 

 

 

 

    

2 | Qooroar one. A Bonk Last Adigits of account number 1. 4% 0 Ss 5A ; ;

Priority Ereditor's Name .
foes FS When was the debt incurred? Cer. S0\4

    

 
 

  
    

Number Street ©

 

As of the date you file, the claim is: Check all that apply.
Woanmerc NIA I394K CO) Contingent
city State ZIP Code C) unliquidated
Who incurred the debt? Check one. CI bisputed

Debtor 1 only Type of PRIORITY unsecured claim:

Debtor 2 only gQ
Domestic support obligations
CQ) Debtor 1 and Debtor 2 only Pe g

C1 At least one of the debtors and another
C) Check if this claim is for a community debt

 

C Taxes and certain other debts you owe the government

CI] Claims for death or personal injury while you were
intoxicated

is the claim subject to offset? Y Other. Specify

QO) No

O) yes

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page40 of 65 |

Cr Your PRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total claim: Priority Nonpriority

amount amount
AON
AB AROK pi OO

Number Street

DOUX Fas SO Syn

late

Who incurred the debt? Check one.

Debtor 1 only
Debtor 2 only
O Debtor 4 and Debtor 2 only
C1 Atleast one of the debtors and another

C) Check if this claim is for a community debt

is the claim subject to offset?

QO No
Cl ves

FPLC Cova
— «AISTAGY ieQO%

Number Street

City State ZIP Code

Who Incurred the debt? Check one.

e Debtor 4 only

Debtor 2 only

Cd Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

C) Check if this claim Is for a community debt

ls the claim subject to offset?

QO) No
C) ves

Ci a C% : Cord ~~
OMB ARAB

Number aC

Loilmmnoien DE ARH

State ZIP Code

Who Incurred the debt? Check one.

LY Debtor 1 only

C} Debtor 2 only

CD Debtor 1 and Debtor 2 only

CI at least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

CI No
QO] ves

 

AAW? s $

Last 4 digits of account number _‘w

When was the debt incurred? wee i WE

As of the date you file, the claim is: Check ail that apply.

Q Contingent
QO unliquidated
QO Disputed

Type of PRIORITY unsecured claim:

C) Domestic support obligations
Q) Taxes and certain other debts you owe the government

Q) Claims for death or personal injury while you were
_ intoxicated

Other. Specify

 

sf op Gil

eens ¥

atk odo wd ice
Last 4 digits of account number toe eR $ \0 i677 $ $

 

When was the debt incurred? Por. 906

As of the date you file, the claim is: Check all that apply.

a Contingent
C) Unliquidatea
2 disputed

Type of PRIORITY unsecured claim:

C1 Domestic support obligations
QO) Taxes and certain other debts you owe the goverment

O) Claims for death or personal injury while you were
intoxicated

a Other. Specify

 

Last 4 digits of account number ~ ee Q io $ iw O16 $ $

 

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.

C) Contingent
Q) Untiquidated
QO Disputed

Type of PRIORITY unsecured claim:

C) Domestic support obligations
2 Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

wv Other. Specify

 

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page41 of 65

ae List All of Your NONPRIORITY Unsecured Claims

 

3. Do any creditors have nonpriority unsecured claims against you?

C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured clalms in the alphabetical order of the creditor who holds each clalm. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, Identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

 

 

 

 

Number Street

City State ZIP Code

Who incurred the debt? Check one.
C) Debtor 1 only

C} debtor 2 only

C) Debtor 1 and Debtor 2 only

 

“ Total claim :
fs] Last4 digits ofaccountnumber l
: Nonpriority Creditor's Name $
When was the debt incurred?
Number Street
City State ZIP Code As of the date you file, the claim is: Check all that apply.
Q Contingent
Who incurred the debt? Check one. (J Unliquidated
C1 Debtor 4 only O disputed
C1 Debtor 2 only
C) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
CI Atleast one of the debtors and another 02 student loans
CQ) Check if this claim is for a community debt QO Obligations arising out of a separation agreernent or divorce
that you did not report as priority claims
Is the claim subject to offset? O Debts to pension or profit-sharing plans, and other similar debts
Q No C) other. Specify
OQ) ves
42 Last 4digitsofaccountnumber $ :
Nonpriority Creditor's Name When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

CQ) Contingent
C) unliquidated
C) disputed

Type of NONPRIORITY unsecured claim:

 

 

 

 

(1 At least one of the debtors and another ) Student loans
Q . C) Obligations arising out of a separation agreement or divorce
Check if this claim is for a community debt that you did not report as priority claims

is the claim subject to offset? C) Debis to pension or profit-sharing plans, and other similar debts

CI No C] Other. Specify |

O ves :
3 oo Last 4digits ofaccountnumber \

Nonpiority Creditor's Name $

When was the debt incurred?
Number Street
city State ZIP Code As of the date you file, the claim is: Check all that apply.

Who incurred the debt? Check one.

C} Debtor 1 only

CO) debtor 2 only

Q) Debtor 4 and Debtor 2 only

C At teast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?
CI} No
QQ Yes

OQ Contingent
QO) unliquidated
) Disputed

Type of NONPRIORITY unsecured claim:

Student foans

Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Specify

OO Of

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page42 of 65

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.

 

 

 

 

 

Nonpdority Creditor's Name
Number Street
City State ZIP Code

Who incurred the debt? Check one.

C1 debtor 1 only

C} Debtor 2 only

CO) Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

C) Check if this claim is for a community debt

is the claim subject to offset?

 

 

 

No

OC] ves

Nonpriorlty Credifor's Name

Number Street

City State ZIP Code

Who incurred the debt? Check one.

C) debtor 1 only

CQ) bebtor 2 only

C1) Debtor 4 and Debtor 2 only

CI At feast one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

CI No
C} ves

Last 4 digits of account number ___

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

O Contingent
QO unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

(1 student loans

O Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

QO other. Specify

 

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
C1 unliquidated
a] Disputed

Type of NONPRIORITY unsecured claim:

QO student joans

oO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QD Debts to pension or profit-sharing plans, and other similar debts
1 other, Specify

 

Total claim

 

Nonpiiority Creditor's Name

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

C Debtor 1 only

O) Debtor 2 only

CO Debtor 1 and Debtor 2 anly

C1 Atleastone of the debtors and another

Q) Check if this claim is fora community debt

Is the claim subject to offset?

CQ) No
CO) ves

Last 4digits of accountnumber
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
QO] unliquidated
qo Disputed

Type of NONPRIORITY unsecured claim:

Student joans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts

DO oo

Other. Specify

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page43 of 65

| part 3: | List Others to Be Notified About a Debt That You Already Listed

 

| 8, Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed In Parts 1 or 2. For
example, If a collection agency Is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you fisted in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

  

On which entry in Part 1 or Part 2 did you list the original creditor?

 

fone

OO USDS ROO, 3h Line of (Check one): oy Part 1: Creditors with Priority Unsecured Claims

Num Street OC) Part 2: Creditors with Nonpriority Unsecured Claims

Aone \ OO Ao Wy Last4digits of accountnumber

State ZIP Code

You\ ENECO. \ On which entry in Part 1 or Part 2 did you list the original creditor?
» WOK 4B Line of (Check one): y Part 1: Creditors with Priority Unsecured Claims

 

 

 

Number Street QJ Part 2: Creditors with Nonpriority Unsecured
Claims
FOU Oloare Lad a DY 3%, ag Last 4 digits of account number <) u % AL
1 a

 

 

LWobp We On which entry in Part 4 or Part 2 did you list the original creditor?
war Ay SYVAR O Line of (Check one): Q Part 1: Creditors with Priority Unsecured Claims

Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims

 

tem oor
wt Last 4 digits of account number “) a D GO
lA jo(een %y On which entry in Part 1 or Part 2 did you list the original creditor?

SX chs ) \ Line of (Check one): by art 1: Creditors with Priority Unsecured Claims

RUS treat CQ) Part 2: Creditors with Nonpriority Unsecured
Claims

HE i a Last 4 digits of account number ATW Ou

“ZIP Code

Cons oo lnn we \au On which entry In Part 1 or Part 2 did you list the original creditor?
‘uy CD Mec Hoel wea Line of (Check one): cy Part 1: Creditors with Priority Unsecured Claims

Number Street 0 Part 2: Creditors with Nonpriority Unsecured
Claims

We : CO . \ Last 4 digits of account number) A 4

ity State ZIP Code

 

 

 

   

 

    
  

 

Name : te at,

“Ai pas U- \ Nate A Dy @, Se f (Check one): (1 Part 1: Creditors with Priority Unsecured Claims

Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims

 

Last 4 digits of account number

 

Sepelow ok Seake CID On which entry in Part 1 or Part 2 did you list the original creditor?
YS WUEECOTR |
Pox \Qaae Line of (Check one): ¥ Part 1: Creditors with Priority Unsecured Claims

Number Street

 

 

Part 2: Creditors with Nonpriority Unsecured
Claims

ACS CN VX TEA \ \ Last 4 digits of account number Ol Lo a

City State ZiP Code

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page44 of 65

a List Others to Be Notified About a Debt That You Already Listed

 

_ 5, Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed In Parts 1 or 2. For

: example, If a collection agency Is trying to collect from you for a debt you owe to someone else, list the original creditor In Parts 4 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Aollls | Catone

Name

we Lo Noece bwacced Iv

Number Street

 

Menomonee Lois Lol 53K)

State ZIP Code

THD | CPWA
‘oox (pO)

Street

 

DOUX Fas SQ Sa

ZIP Cade

On which entry In Part 1 or Part 2 did you list the orlginal creditor?

Line of (Check one): a Part 1: Creditors with Priority Unsecured Claims
Q) Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 654 \

 

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): 3 Part 1: Creditors with Priority Unsecured Claims

C] Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number 0A 3 |

 

 

Vo Pox Kuan

 

DIOAK Fas SQ Sq
\e MCP) Cowl
AD Box _1S39

Number Street

 

DilmnAon DE \oRgo-
Eeh Loan Senncancy

 

Number Street

 

 

Gy “Sate P Code

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): y Part 1: Creditors with Priority Unsecured Claims

C1 Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number(_) “| Ao 3
On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): y Part 1: Creditors with Priority Unsecured Claims

1 Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number(.)_ LD QO Ly
On which entry In Part 1 or Part 2 did you list the original creditor?
Line of (Check one): | Part 1: Creditors with Priority Unsecured Claims

, C} Part 2: Creditors with Nonpriority Unsecured
Claims

 

Last 4 digits of account number

 

Poner \ Tree

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

Name
SEO ¢ > " ¥ sin Ayre. Line of (Check one): y Part 1: Creditors with Priority Unsecured Claims
Number Street . CQ) Part 2: Creditors with Nonpriority Unsecured
Claims
Nockhalpan CO AHO? Last4 digits ofaccountnumber
City State ZIP Cade .

 

Qneck ite Casn

Name

USIG Locsnnaien S

int
Nornciltan CO 26533

State ZIP Code

On which entry In Part 1 or Part 2 did you list the original creditor?

Line of (Check one): a Part 1: Creditors with Priority Unsecured Claims

QO) Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number ___
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page45 of 65

ee List Others to Be Notified About a Debt That You Already Listed

 

_ 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
i example, if a collection agency Is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the

additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do nof fill out or submit this page.

Lined Vowel

 

500 Conerodive USA

 

 

t jon H0\03

ZIP Code

by LON an

 

 

 

On which entry In Part 1 or Part 2 did you list the original creditor?

Line of (Check one): y Part 1: Creditors with Priority Unsecured Claims
C] Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number A SB Oo 2

On which entry In Part 1 or Part 2 did you list the original creditor?

Line of (Check one): a Part 1: Creditors with Priority Unsecured Claims

C] Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _|_ 5 a &

 

i biiaes, litera Toil

 

 

 

 

 

 

 

 

FCA Lokuist Vauuoeey
(proompercl UG Ob
Urges ye boa
a
a Sue be coe

Yur dal Credit _
Can Deececa 2A

Number Street

Sie. \\WO
onium wei,

State ZIP Code

wa WACO Core a

 

 

 

 

tame

On which entry In Part 1 or Part 2 did you list the original creditor?
Line of (Check one): O Part 4: Creditors with Priority Unsecured Claims

O1 Part 2: Creditors with Nonpriority Unsecured :
Claims

Last 4 digits of account number _

On which entry in Part 1 or Part 2 did you list the original creditor?

of (Check one): A Part 1: Creditors with Priority Unsecured Claims
QO] Part 2: Creditors with-Nonpriority Unsecured
ae }

Line

 

Last 4 digits of account number _—) Uy oh \

On which entry In Part 1 or Part 2 did you list the original creditor? :

 

Line of (Check one): OA an 1: Creditors with Priority Unsecured Claims

Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number o oF. 2

On which entry In Part 1 or Part 2 did you list the original creditor?

 

 

 

Name
© oy Tp A 7S Line sof (Check one): rer 1: Creditors with Priority Unsecured Claims |
ane Street Part 2: Creditors with Nonpriority Unsecured
Claims
Jui Antenne “\X Wdes Last 4 digits of account number ___ © QYy
State ZIP Paes
visa
ts On which entry In Part 1 or Part 2 did you list the original creditor?
me
Line of (Check one): O Part 4: Creditors with Priority Unsecured Claims
Number Street

 

 

City State 2IP Code

 

CQ) Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page4é6 of 65

a Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information Is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

6c.

6d.

6e.

6h.

6i.

. Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arlsing out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6). Total. Add lines 6f through 6i.

Total clalm

6a. $ ( Bb
6b. 5 ( [ )
6c. $ B

dye D5
Ge. ZG
$

Total claim

6f. iota Se

 

 

 

 

 

6h g DB
6. +s Z

Gj. ; 3 i ay ) Od

 

 

 

 

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page47 of 65

Fill In this Information to Identify your case:

Debtor Ww Wane) LAGE Worn wz

First Namd YM

Debtor 2
{Spouse If filing) First Name Middia Namo Last Name

 

United States Bankruptcy Court for the: District of

 

(State)
Case number

(If known) C) Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are fillng together, both are equally responsible for supplying correct

information. If more space is needed, copy the additional page, fill it out, number the entries, and attach It to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired leases?
OQ _No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
Yes. Fil in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease Is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease Is for
2A
Name “Von we_ Ware . |
Number Street % Wox SAVEC Ve EK ye.
Wis

WOUCUERG LO RS SWS
&S 4 FAQUAL ot ZIP Code B30

22 Qannd Home Dus DO WU

Name a a
SH. AycQots BWA FEM WOKe TECSS,
Number Street
PUOT OO ZoO\\
City — State ZIP Code
2.3
Name
Number Street
City State ZIP Code
24
Name
Number Street
: City State ZIP Cade
25
Name
Number Street

City State ZIP Code
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page48 of 65

a Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease What the contract or lease Is for

 

Name
Number Street

City State ZIP Code

 

Name
Number Street

City State ZIP Code

 

Name
Number Street

City State ZIP Code

Name
Number Street

City State ZIP Code

 

Name
Number Street

City — Stale ZIP Code

 

Name
Number Street

City Stale ZIP Code

Name

|
|
i
i
i

Number Street

Cily State ZIP Code

 

Name

Number Street

City State ZIP Code
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page49 of 65

Fill In this Information to Identify your case:

Debtor 4 Lominen Wane Dark YLT

First Nama % Middis Name Last Name

Debtor 2
(Spouse, if filing) First Nama LastNama

 

United States Bankruptcy Court for the: District of
(State)

Case number
ff knawnt

 

 

C2 Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 42/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

4. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.)
Q) No
Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No. Go to line 3.
Cl Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

C] No

(1 Yes. in which community state or territory did you live? . Fill in the name and current address of that person.

 

Nante of your spouse, former spouse, or legal equivalent

 

Number Street

 

Clty State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

US HY q Vorwwe . WY schedule D, tine DO
Q

1OW & Loca St ; Schedule E/F, line
Numbér ! Mg, j . | QO) Schedule G, line
WANA Qo EOIA2

City State ZIP Code

Q) Schedule 0, line
Name ee
Q) Schedule E/F, line
Number Street QO Schedule G, line
City State ZIP Code
OQ) Schedule D, line
: Name
C] Schedule E/F, line
Number Streat QO Schedule G, line

City State ZIP Code

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page50 of 65

 

| | Additional Page to List More Codebtors

Column 1: Your codebtor Column 2: The creditor te whom you owe the debt

Check all schedules that apply:

LU"

Q) Schedule D, line

 

 

 

Name
C) Schedule E/F, line
Number Street O Schedule G, line
City 7 State ~~ ZIP Code
O Schedule D, line
Name oe
Q) Schedule E/F, line
Number Street C1 Schedule G line
City State ZIP Code
O Schedule D, line
: Name
O Schedule E/F, line
Number Streat Q) Schedule G, line
City State ZIP Code
O Schedule D, line
: Name
QO Schedule E/F, line
Number Street QO Schedule G, line
Fy City State ZIP Code
; CJ Schedule D, line
Name em
O Schedule E/F, line
Number Street O) Schedule G, line
City : State ~ ZIP Code
Cl Schedule D, line
Name ——
OQ) Schedule E/F, line
Number Street QO) Schedule G, line
City State ZIP Code
p-| C) Schedule D, line
Name Se
C] Schedule E/F, line
Number Street 1 Schedule G, tine
&] City State ZIP Code
Q) Schedule D, line
Name nd
C) Schedule E/F, line
Number Street C) Schedule G, line

nd so escape SRE cosmrnmninnsenenrannnsninanan el, COd@

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page51 of 65

Fil In this information to Identify your case:

Debtor 1 bine) rac eC ag, VL e

Debtor 2
(Spouse, iffiling) First Name Middie Nama Lasl Nama

 

United States Bankruptcy Court for the: District of
(State)

Case number Check if this is:
(if known) .
C1) An amended filing

Cha supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 WMT DoT yyy
Schedule I: Your Income 12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct Information. If you are married and not filing jointly, and your spouse Is living with you, include information about your spouse.
If you are separated and your spouse Is not filing with you, do not Include Information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

| Part 1: | Describe Employment

 

 

 

 

 

4. Fillin your employment

 

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job,

attach a separate page with ‘

information about additional Employment status Yeneiyed Q) Employed

employers. Not employed C1 Not employed

Include part-time, seasonal, or

self-employed work. Ac\ hes Van!
Occupation hwy c SlanA-

Occupation may include student
or homemaker, if it applies. __

Employer's name EQ\\ \C ACY \Ox Ooi ee
Employer's address \YHOQn Ls als Aye

Number Street Number Street

Sve. DOQ\

WAmoser Go AQBe

City State ZIP Code | City Slate ZIP Code

How long employed there? =~ AMO

 

 

 

 

ea Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

c v Sia
deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ JOH $
3. Estimate and list monthly overtime pay. 3. + ¢ LB + ¢

4. Calculate gross income. Add line 2 + line 3. 4.1 $ wo yy UL $

 

 

 

 

 

 
Case:19-16333-EEB

Copy fine 4 here. ssc ccsneecssecceanececesessnseeesassssaessssassesauansasesavaneseaeann

5. List all payroll deductions:

5a.
5b.
Sc. Voluntary contributions for retirement plans
5d.
Se.
5f. Domestic support obligations

Tax, Medicare, and Social Security deductions
Mandatory contributions for retirement plans

Required repayments of retirement fund loans

insurance

5g. Union dues

5h. Other deductions. Specify:

 

6. Add the payroll deductions. Add lines 6a + 5b + 5c + 5d + 5e +5f + 5g + Sh.

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.

, 8 List all other Income regularly recelved:
| 8a. Net Income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total

monthly net income.
8b. Interest and dividends

8c.
regularly receive

Include alimony, spousal support, child support, maintenance, divorce

settlement, and property settlement.

8d.
8e.

Unemployment compensation
Social Security

8f. Other government assistance that you regularly receive

5a.
5b.
Se.
Sd.
Se.
5f.

5g.

2

8a,
8b.

Family support payments that you, a non-filing spouse, or a dependent

&c.

8d.
ge.

Include cash assistance and the value (if known) of any non-cash assistance
that you recelve, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.
Specify:

 

8g. Pension or retirement Income

8h. Other monthly income. Specify:

 

9, Add all other income. Add lines 8a + 8b + 8c + 8d + Be + 8f +8g + Bh.

10. Calculate monthly Income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

Mt. State all other regular contributions to the expenses that you list In Schedule J.

Bf.

8g.

9.

For Debtor 1 For Debtor 2 or

$
gs AWN =
$ © $
$_ © $
$_ $
s 3010 5
$s__ @ $
$_ Cf $
_+$ ZB +¢
gs AQBST 5
s\pGO43 5
$ O $
$ CO $
$ O $
s_O §
g¢ CO $
¢ 43S §
s_© §
a. +s CO 4g
gs 4D $

$. IS Os $ =f

10.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page52 of 65

 

 

 

 

 

 

 

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

WF § Q® !

Specify:

 

12. Add the amount in the last column of line 10 to the amount In fine 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

No,

12.

 

56.43

 

 

Combined
monthly Income

 

] Yes. Explain:

 

13. Do you expect an increase or decrease within the year after you file this form?

 

 

 

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page53 of 65

Fill In this Information to identify your case:

Debtor 1 Wa dns Wone DEQ ez.

First Name ¥ Middie Nama Last Nama Check: if this is:

 

Debtor 2 C] An amended filing

(Spouse, if fillng) First Nama Middle Nama Last Name
C} A supplement showing postpetition chapter 13
expenses as of the following date:

United States Bankruptcy Court for the: District of
(State)

Vikan er MM / DD/ YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(If known). Answer every question.

| Part: Describe Your Household

1. Is this a joint case?

 

ty Ne. Go ta line 2.
Yes. Does Debtor 2 live In a separate household?

OC) No
C1 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

 

2. Do you have dependents? OQ) No .
. Dependent's relationship to Dependent's Does dependent live
Do not list Debtor 1 and Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... cece
Do not state the dependents’ SOK \ 5 O No
names. : Oy Yes
SOW \A Ono
O Yes
DOV)! \O No
h Yes
CI No
C] Yes
(J No
C] Yes
3. Do your expenses include ty No

expenses of people other than OQ
yourself and your dependents? Yes

re Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have Included It on Schedule I: Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and ee ~~
any rent for the ground or lot. 4. s ACO
If not included In line 4:
4a, Real estate taxes fa. § SG
4b. Property, homeowner's, or renter’s Insurance 4p, § CD

4c. Home maintenance, repair, and upkeep expenses

4d. Homeowner's association or condominium dues

:
16.

18.

20.

Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page54 of 65

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection

6c, Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify: Yoon Wolane

. Food and housekeeping supplies

, Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services

Medical and dental expenses

. Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments,
Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

. insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance
16b. Health insurance

15c. Vehicle insurance

15d, Other insurance. Specify; WeEMal ANSCA

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Vehicle 4
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:

 

 

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your Income (Official Form 41061).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not Included in lines 4 or 5 of this form or on Schedule ft Your income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renters insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

15a,
1&b.
15c.

18d.

17a.
17b.
7c.

17d.

18.

 

Your expenses

 

s_ 96 '\O
s
_@

 
21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule 1.
23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying far your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
aNo.

CQ} Yes. | Explain here:

i
'
/

21.

22a.

22b.

22c,

23a.

23b.

23c,

 

5s 9090.3
-; JIAG\O

 

s ~ IWR.

 

 

 

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page56 of 65

UR EM Com R MCHA me) Umer Co

Debtor 1 Woarknen)

First Nama y

Debtor 2
(Spouse, if filing} Fist Name Mddia Name Last Name

 

United States Bankruptcy Court for the: District of
(State)

Case number
(If known)

 

C} Check if this is an
amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42115

If two married people are filing together, both are equally responsible for supplying correct information.

 

 

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud In connection with a bankruptcy case can result In fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

| Sign Below

Did you pay or agree to pay someone who Is NOT an attorney ta help you fill out bankruptcy forms?

No
Yes. Name of person . Attach Bankruptcy Patition Preparer's Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

x

Signature of Debtor 2

 

 

Date
MM/ DD / YYYY

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page57 of 65

Official Form 416A (12/15)

Inre

Address \CARD Cron We

Last four digits of Social-Security or Individual Tax- 0
Payer-Identification (ITIN) No(s)., (if any): VAS

Form 416A. Caption (Full)

United States Bankruptcy Court

District Of

Wart Dane Mode Cosyro

[Set forth heré all names including married,
maiden, and trade names used by debtor within
the last 8 years.]

Case No.
Debtor

WorWo\non OO $0333

 

Employer's Tax Identification No(s). (if any):

 

 

 

[Designation of Character of Paper]

Chapter ~\
Case:19-16333-EEB Doc#:2 Filed:07/24/19

Number Page

Company Code Loc/Dept
759892 1 of 1

K4/57U 24180769 01/200
Sequoia Tax Consultants Inc

Entered:07/25/19 09:10:09 Page58 of 65

A?

Earnings Statement

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

Whitney Martinez
1800 W 74th Way
Denver, CO 80221

  
  
 

  
     
 

       

 

 

1490 W 121st Ave Ste 201 Period Starting: 07/01/2019
D O 8023 Period Ending: 07/15/2019
enver, C 4 Pay Date: 07/19/2019
Taxable Marital Status: Single
Exemptions/Allowances: Tax Override: Whitney Martinez
Federal: 4 Federal:
State: 4 State: 1800 W 74th Way
Local: 0 Local: Denver, CO 80221
Social Security Number: XXX-XX-XXKK
Earnings rate hours/units this period year to date Other Benefits and
Regular 16.0000 64.00 1024.00 7300.00 information this period year to date
Holiday 16.0000 16.00 256.00 256.00 Total Hours Worked 64.00 456.25
3R's Bonus 0.00 40.00
Gross Pay $1,280.00 $7,596.00
Deposits
account number transif/ABA amount
Statutory Deductions this period year to date XXXXKXT 306 XXROOOOKK 1097.00
Federal Income -39.16 151.21
Social Security -77.49 467.22
Medicare 7-18.12 109.27
Colorado State Income -18,.13 69.19
Voluntary Deductions this period year to date
*Dental pre-tax ~28.59 57.18
*Vision pre-tax “L.51 3.02
Net Pay $1,097.00
{
Y oy
:
:
£
|
:
sone
RT
'
Your federal taxable wages this period are $1,249.90
* Excluded from Federal taxable wages
Sequoia Tax Consultants Inc
1490 W 121st Ave Ste 201 .
Denver, CO 80234 Pay Date: 07/19/2019
Deposited to the account 2ACCO umbe transit/ABA amount
Checking DirectDeposit POO 08 XXXKXXXKXKK 1097.00
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page59 of 65

Company Code Loc/Dept Number Page Earnings Statement #3?
®

K4/5/U 24780769 01/200 727453 T of 1
Sequoia Tax Consultants Inc

 

 

 

 

 

 

 

1490 W 121st Ave Ste 201 Period Starting: 06/16/2019
Period Ending: 06/30/2019
Denver, CO 80234 Pay Date: 07/05/2019
Taxable Marital Status: Single
Exemptions/Allowances: Tax Override: Whitney Martinez
: 4 Federal:
Set 4 oa 1410 East 78th Ave
; Local: ; 0 Local: Unit 2
Social Security Number: XXX-XK-XKXKK Denver, CO 80229
Eamings rate hours/units this period year to date Other Benefits and ; .
Regular 16.0000 76.75 1228.00 6276.00 Information this period year to date
3R's Bonus 0.00 30.00 40.00 Total Hours Worked 76.75 392.25
Gross Pay $1,258.00 $6,316.00
Deposits
Deduct: hi . account number transi/ABA amount
slatutory Deauctions Cds period =_____ year to date_
Statuto! eductions this period ear to date XXXXXX7308 XXXXXXXXX 1079.89
Federal Income -36.96 112.05
Social Security -76.13 389.73
Medicare -17,81 91.15
Colorado State Income -17.11 51.06
Voluntary Deductions this period year to date
*Dental pre-tax -28,59 28.59
*Vision pre-tax “1.51 1.51
Net Pay $1,079.89

 

Your federal taxable wages this period are $1,227.90
* Excluded from Federal taxable wages

Sequoia Tax Consultants Inc

1490 W 121st Ave Ste 201 .
Denver, CO 80234 Pay Date: 07/05/2019

  

 

Deposited to the account amount
Checking DirectDeposit XXXXXXXXX 1079.89

    

Whitney Martinez
1410 East 78th Ave
Unit 2

Denver, CO 80229

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19

Number Page

Company Code Loc/Dept
101672 1Tof1

K4757U 24180769 01/200
Sequoia Tax Consultants Inc

Entered:07/25/19 09:10:09 Page60 of 65

A?

Earnings Statement

 

 

 

 

 

 

 

    

 

1490 W 121st Ave Ste 201 Period Starting: 06/01/2019
Period Ending: 06/15/2019
Denver, CO 80234 Pay Date: 06/20/2019
Taxable Marital Status: Single
Exemptions/Allowances: Tax Override: Whitney Martinez
Federal: 4 Federal:
State. 4 State. 1410 East 78th Ave
Local: 6 Local: Unit 2
Social Security Number: XXX-KX-XXXK Denver, CO 80229
Eamings tate hours/units this period year to date Other Benefits and
Regular 16.0000 35.00 560.00 5048.00 Information this period year to date
3R's Bonus 0.00 10.00 Total Hours Worked 35.00 315.50
Gross Pay $560.00 $5,058.00
Deposits
s | ; . account number transit/ABA amount
statutory Deductions this period =©____ year to date_
tatutory Deductions this period ear to date XXXXXX7308 XXXXXXXXX 517.16
Federal Income 0.00 75.09
Social Security ~34,72 313.60
Medicare -8.12 73.34
Colorado State Income 0.00 33.95
Net Pay $517.16
Your federal taxable wages this period are $560.00
Sequoia Tax Consultants inc
1490 W 121st Ave Ste 201 .
Denver, CO 80234 Pay Date: 06/20/2019
Deposited to the account transit/ABA amount
Checking DirectDeposit XXXXXXKXKX 517,16

 

Whitney Martinez
1410 East 78th Ave
Unit 2

Denver, CO 80229

 
Company Code

Loc/Dept Number Page

 

 

 

 

 

 

    

Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page61 of 65

Earnings Statement

A?

Period Starting:
Period Ending:
Pay Date:

06/01/2019
06/15/2019
06/20/2019

Whitney Martinez
1410 East 78th Ave
Unit 2

Denver, CO 80229

Other Benefits and
Information

Total Hours Worked

this period
40.00

year to date
315.50

Your federal taxable wages this period are $640.00

82-504/1070

1728
06/20/2019

Payroll Check Number:
Pay Date:

 

 

$591.04

 

 

 

   

K4./5/U 24180769 01/200 1728 1 of 1
Sequoia Tax Consultants Inc
1490 W 121st Ave Ste 201
Denver, CO 80234
Taxable Marital Status: Single
Exemptions/Allowances: Tax Override:
Federal: 4 Federal: 0.00 Fiat
State: 4 State: 0.00 Flat
Local: 0 Local:
Social Security Number: XXX-KX-XXXK
Earnings rate hours/units this period year to date
Regular 16.0000 40.00 640.00 4488.00
3R's Bonus 0.00 10.00
Gross Pay $640.00 $5,058.00
Statutory Deductions this period year to date
Federal Income 0.00 75.09
Social Security -39.68 278.88
Medicare -9.28 65.22
Colorado State income 0.00 33.95
Net Pay $591.04
Sequoia Tax Consultants inc
1480 W 121st Ave Ste 201
Denver, CO 80234
Pay fo the Whitney Martinez
This amount: FIVE HUNDRED NINETY ONE AND 04/190
D -NON NEGOTIABLE
1st Bank

Whitney Martinez

1410 East 78th Ave

Unit 2

Denver, CO 80229

VOID - NON NEGOTIABLE

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page62 of 65

Company Code Loc/Dept Number Page Earnings Statement £2?
®

K4/57U 24180769 01/200 253974451 of 4
Sequoia Tax Consultants Inc

 

 

 

 

 

 

1490 W 121st Ave Ste 201 Period Starting: 05/16/2019
2. Period Ending: 05/31/2019
Denver, CO 80234 Pay Date: 06/05/2019
Taxable Marital Status: Single
Exemptions/Allowances: Tax Override: Whitney Martinez
Federal: 4 Federal:
St 4 Sete 1410 East 78th Ave
; Local: ; 0 Local: Unit 2
Social Security Number: XXX-XX-AAKKK Denver, CO 80229
Eamings rate hours/units this period year to date Other Benefits and ;
Regular 16.0000 83.75 1340.00 3848.00 Information this period year to date
3R's Bonus 0.00 10.00 10.00 Total Hours Worked 83.75 240.50
Gross Pay $1,350.00 $3,858.00
Statutory Deductions this period year to date
Federal Income -50.92 75.09
Social Security -83.70 239,20
Medicare -19.57 55.94
Colorado State Income -22.76 33.95
Net Pay $1,173.05

 

Your federal taxable wages this period are $1,350.00

     
   
 

 

 

 
 

 

Sequoia Tax Consultants Inc 90-477/1222
Pere coat cya Beeb
ee e
Pay to the Whitney Martinez
This amount: ONE THOUSAND ONE HUNDRED SEVENTY $1,173.05

 

 

 

 

VOID - NON NEGOTIABLE

 

Wells Fargo Bank, N.A. Whitney Martinez
Boulder, CO 80302 1410 East 78th Ave
Unit 2

Denver, CO 80229
 

Earnings Record

D pete.

 

09 Pageé3 of 65

3/18/2019 ped hours 8.0800 . 96.96 FED SOCSEC
Tip Credit** 3.0200 12,00 36.24 FED 2.94 Check
Cash tips* 0.0000 0.00 106.00 MEDCARE No: 2069
oO 4/1/2019 — Tipped hours 8.0800 28.95 233.92 463.66 FED SOCSEC 28.75 198.44
aH Tip Credit** 3.0200 28.95 87.43 FED 6.73 Check
& Cash tips* 0.0000 0.00 229.74 MEDCARE No: 2082
oO 4/15/2019 Tipped hours 8.0800 47.31 382.26 552.39 FED SOCSEC 34.25 340.00
a Tip Credit** 3.0200 47.31 142.88 FED 8.01 Check
Wo Cash tips* 0.0000 0,00 170.13 MEDCARE No: 2098
N 4/29/2019 Tipped hours 8.0800 35.36 285.71 595.14 FED SOCSEC 36.90 240.18
SS Tip Credit** 3.0200 35.36 106.79 FED 8.63 Check
” o Cash tips* 0.0000 0.00 309.43 MEDCARE No: 2115
wo 5/13/2019 Tipped hours 8.0800 5.97 48.24 150.87 FED SOCSEC 9.35 36.71
Oo Tip Credit** 3.0200 5,97 18.03 FED 2.18 Check
Sc Cash tips* 0.0000 0.00 102.63 MEDCARE No: 2132
Ww 5/24/2019 Tipped hours 8.0800 12.77 103.18 143.18 FED SOCSEC 8.88 . 92.22
Tip Credit** 3.0200 12.77 38.57 FED 2.08 Check
o Cash tips* 0.0000 0.00 40.00 MEDCARE No: 2150
a 6/10/2019 Tipped hours 8.0800 18.24 147.38 255.18 FED SOCSEC 15.82 127.86
tT Tip Credit** 3.0200 18.24 55.08 FED 3.70 Check
N Cash tips* 0.0000 0.00 107.80 MEDCARE No: 2168
S 6/24/2018 Tipped hours 8.0800 25.55 206.44 306.18 FED SOCSEC 18.98 193.24
3G Tip Credit** 3.0200 26.30 79,43 FED 4.44 Check
MO Tipped overtime 13.6300 0.75 10.22 MEDCARE No: 2187
— hours
LL Cash tips* 0.0000 0.00 89.52
N 7/8/2019 Tipped hours 8.0800 43.91 354.79 711.63 FED SOCSEC 44.12 300.35
| + Tip Credit** 3.0200 43.91 132.61 FED 10.32 Check
: oO Cash tips* 0.0000 0.00 356.84 MEDCARE No: 2202
! A 7/22/2019 Tipped hours 8.0800 12.23 98.82 215.82 FED SOCSEC 13.38 82.31
: Tip Credit** 3.0200 12.23 36,93 FED 3.13 Check
oO Cash tips* 0.0000 0.00 117.00 MEDCARE No: 2218
LU Employee © Tipped.hours 242.29 $1,957.70 $3,597.01. FED SOCSEC $223.01 one $1,692.75
LL Totals: Tip Credit** 243.04 $733.99 FED $52.16 :
© Tipped overtime 0.75 $10.22 MEDCARE
3 hours
oO Cash tips* ’ 0.00 $1,629.09
re
o
od

 

Company: Ugly Dog Sports Cafe LLC
Check Dates From: 2/18/2019 To: 7/22/2019 1 of 2
Pay Period from: 02/25/2019 to: 07/14/2019

Case
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page64 of 65

B2020 (Form 2020) (12/15)

United States Bankruptcy Court

 

 

 

 

District of
In re Case Number
Chapter “|

 

STATEMENT OF MILITARY SERVICE

The Servicemembers’ Civil Relief Act of 2003, Pub. L. No. 108-189, provides for the temporary
suspension of certain judicial proceedings or transactions that may adversely affect military servicemembers, their
dependents, and others. Each party to a bankruptcy case who might be eligible for relief under the act should
complete this form and file it with the Bankruptcy Court.

ENTIFICATION OF SERVICEMEMBER
Self (Debtor, Codebtor, Creditor, Other)

- Non-Filing Spouse of Debtor (name)
Oo Other (Name of servicemember)
(Relationship of filer to servicemember)

(Type of liability)

 

 

 

TYPE OF MILITARY SERVICE
U.S. Armed Forces (Army, Navy, Air Force, Marine Corps, or Coast Guard) or commissioned officer
of the Public Health Service or the National Oceanic and Atmospheric Administration (specify type

 

 

 

 

 

 

 

of service)

Oo Active Service since (date)

Cy Inductee - ordered to report on (date)

Cy Retired / Discharged (date)

U.S. Military Reserves and National Guard

Oo Active Service since (date)

Oo Impending Active Service -orders postmarked (date)
Ordered to report on (date)

Oy Retired /Discharged (date)

 

USS. Citizen Serving with U.S. ally in war or military action (specify ally and war or action)

 

 

 

 

 

Cy Active Service since (date)

im Retired/Discharged (date)

DEPLOYMENT

O Servicemember deployed overseas on (date)
Anticipated completion of overseas tour-of-duty (date)

SIGNATURE

Watney, Mac o7

(print name) \

  

This statement is for information use only. Filing this statement with the Bankruptcy Court does not constitute an application for
or invoke the benefits and relief available under the Servicemembers’ Civil Relief Act of 2003.

 
Case:19-16333-EEB Doc#:2 Filed:07/24/19 Entered:07/25/19 09:10:09 Page65 of 65

Fill in this information to identify your case

   

 

 

 

UNITED STATES BANKRUPTCY COURT DISTRICT OF COLORADO Soy |

Debtor 1 GANA AR lacie Las tity pase # | WL 242mg |
First Name | Middle Name Last Name i ! j

Debtor 2: Chapter: \ Led EEC : |
First Name Middie Name Last Name Baath et EE 2

 

 

Local Bankruptcy Form 9036-1.1
Consent for Electronic Notice and Service in a Bankruptcy Case

Complete applicable sections.

rh ondneuU Varagez [name and party type, e.g. John Smith, Debtor] hereby consent to receive notices
electronically (i.e., by e-mail ats Anesnrocw7 616 xt. [email address]) and waive my right to receive them by
United States mail. | also consent to electronic service of any motions and other documents that may be filed in this case,
and waive personal service or service by United States mail. Finally, | consent to electronic service and notice of any
orders or judgments entered in this case, and waive service and notice by United States mail.

| understand that by signing this form | waive my right to receive documents filed or served in my bankruptcy case by
United States mail, and that the ONLY copies | receive will be electronic copies attached to e-mail messages, not paper

copies.

| understand I have only one free look at any orders, notices, motions, and other documents sent to my e-mail. It is my
responsibility to print or download documents immediately. | understand any additional document view(s) or download(s)
after the first free look will require a PACER account (www.pacer.gov) and | may be charged a fee.

Signature
Dated: I ie 4 | IG By: ' SN A

Signature

Mailing Address: (HE Great LGAMAL IN COREI33
Telephone number: ° » WVU E ‘

Facsimile number. —

E-mail address: Ux f

 

 

on

  

   

L.B.F. 9036-1.1 (12/18) Page 1

 
